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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

BRENDA SMITH,                                                  Civil Action No.

        Plaintiff,
v.

AROOSTOOK COUNTY; and SHAWN
D. GILLEN, Chief Deputy and Acting
Aroostook County Sheriff,

        Defendants.


                                COMPLAINT
               (JURY DEMAND AND INJUNCTIVE RELIEF REQUESTED)



        Plaintiff Brenda Smith complains against Defendant Aroostook County, and Defendant

Shawn D. Gillen, Chief Deputy and Acting Aroostook County Sheriff (collectively,

“Defendants”):

                                        INTRODUCTION

        1.      Aroostook County and the Aroostook County Sheriff’s Department, which is

overseen by Chief Deputy Gillen, routinely and systematically fail to provide adequate medical

care to those in their custody. Plaintiff Smith files this lawsuit to ensure she is able to receive the

care she needs.

        2.      Ms. Smith suffers from opioid use disorder, a chronic brain disease. She has been

in recovery for almost ten years and has done everything in her power to remain in recovery. A

big part of her treatment has been medication-assisted treatment (“MAT”), which is the standard

of care for opioid use disorder. As part of her MAT, Ms. Hodgkin takes a maintenance dosage of
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buprenorphine, which operate to block opioid receptors in the brain, suppressing drug cravings

and withdrawal symptoms.

       3.     There is substantial medical consensus that MAT is the standard of care for opioid

use disorder. Nonetheless, the Aroostook County Sheriff’s Office and Maine Department of

Corrections both have policies prohibiting MAT for opioid use disorder, even for those who are

presently taking prescribed buprenorphine prescribed by their doctor, like Ms. Hodgkin.

       4.     Ms. Hodgkin will enter the Defendants’ care when she is required to report to

prison on September 7, 2018.

       5.     Defendants’ policies will force Ms. Smith into acute withdrawal, which is

extremely painful and carries a heightened risk for numerous serious medical conditions. Forced

withdrawal could also trigger relapse, leading to complications such as overdose and death.

       6.     The Defendants’ denial of necessary medical care to Ms. Smith violates her right

to be free from discrimination based upon her disability as guaranteed by the Americans with

Disabilities Act. Further, Defendants’ deliberate indifference to Ms. Smith’s suffering and long-

term consequences of forced withdrawal violate her constitutional right to be free from cruel and

unusual punishment as guaranteed by the Eighth Amendment to the United States Constitution.

       7.     Ms. Smith seeks compensatory, declaratory and injunctive relief to enjoin the

Defendants to provide her with necessary medical care and prevent suffering.

                                           PARTIES

       8.     Plaintiff Brenda Smith is a resident of Madawaska, Maine.

       9.     Defendant Shawn D. Gillen is the Chief Deputy and Acting Sheriff of the

Aroostook County Sheriff’s Department. As such, he is the legal custodian of all prisoners




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housed at Aroostook County Jail and is responsible for the safe, secure, and humane treatment of

those prisoners, including medical care. Chief Deputy Gillen is sued in his official capacity.

       10.      At all times relevant to this complaint, Chief Deputy Gillen was acting under

color of state law.

       11.      Defendant Aroostook County is a political subdivision of the State of Maine.

                                         JURISDICTION

       12.      This action seeks to vindicate rights guaranteed by the Eighth Amendment to the

United States Constitution, pursuant to 42 U.S.C. § 1983.

       13.      This action is also brought pursuant to Title II of the Americans with Disabilities

Act, 42 U.S.C. §§ 12131-12134.

       14.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331,

because this action arises under federal law. Jurisdiction is also authorized pursuant to 28 U.S.C.

§ 1343(a)(3).

       15.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because all the events and

omissions giving rise to this action occurred within this judicial district and because the

Defendants are subject to personal jurisdiction in this District.

                                              FACTS

Opioid Use Disorder Is a Serious Disability

       16.      Opioid use disorder is a chronic brain disease with potentially deadly

complication Signs of opioid use disorder include craving, increasing tolerance to opioids,

withdrawal symptoms, and a loss of control.

       17.      Like other chronic diseases, opioid use disorder often involves cycles of relapse

and remission. Without treatment or other recovery, patients with opioid use disorder are




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frequently unable to control their use of opioids. Opioid use disorder is progressive and can

result in disability or premature death.

         18.    There is an opioid epidemic in Maine, with an average of 1.14 overdose deaths

per day reported in 2017. That figure marks an 11 percent increase in opioid overdose deaths

over the previous year. As these figures show, opioid use disorder is a serious public health crisis

in Maine.

         19.    Drug addiction is a “disability” under the Americans With Disabilities Act. See

42 U.S.C. §§ 12102 and 12131(2); 28 C.F.R. § 35.108 (“The phrase physical or mental

impairment includes, but is not limited to . . . drug addiction, and alcoholism.”).

         20.    Although the Americans with Disabilities Act does not apply to current active

users of illegal drugs, it does apply to people like Mr. Smith who are participating in a

supervised drug rehabilitation program. See 42 U.S.C. § 12210(a) & (b); Thompson v. Davis, 295

F.3d 890, 896 (9th Cir. 2002); Collings v. Longview Fiber Co., 63 F.3d 828, 831-32 (9th Cir.

1995).

Medication-Assisted Treatment Provides Life-saving Treatment for Opioid Use Disorder
         21.    Medication-assisted treatment is the standard of care for opioid use disorder.

Although some patients can treat their opioid use disorder using other methods, most patients

need medication-assisted treatment (“MAT”) to achieve long-term recovery.1

         22.    MAT is an opioid treatment that combines medication and counseling. Two

medications used in MAT are methadone and buprenorphine. Both have been approved by the

United States Food and Drug Administration for treatment of opioid dependence.



1
  Frequently Asked Questions about Opioid Use Disorder and IMAT, MaineHealth, https://mainehealth.org/-
/media/mainehealth/pdfs/opioids/frequently-asked-questions-about-opioid-use-disorder-and-imat.pdf?la=en (last
visited August 28, 2018).


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       23.     The results of treatment with MAT are dramatically superior to other treatment

options, with studies showing improved retention in treatment, abstinence from illicit drugs, and

decreased mortality.

       24.     The medication element of MAT, including buprenorphine and methadone, helps

to prevent the “high” of taking opioids, suppresses withdrawal, and reduces cravings.

       25.     Methadone is a full agonist at the opioid receptor, and buprenorphine is a partial

agonist. In other words, methadone activates the opioid receptor at 100 percent, and

buprenorphine activates opioid receptors approximately 20 to 40 percent.

       26.     Both buprenorphine and methadone bind tightly to the opioid receptor so that

someone taking one of these medications is not able to feel a “high” from taking heroin or

fentanyl because those drugs are not able to activate the opioid receptor. Both methadone and

buprenorphine also facilitate extinction learning, because patients learn that they will not get the

same “high” from taking drugs like heroin or fentanyl.

       27.     Buprenorphine and methadone have been clinically proven to reduce opioid use

more than (1) no treatment, (2) outpatient treatment without medication, (3) outpatient treatment

with placebo medication, and (4) detoxification only.

       28.     MAT is far more effective than detoxification alone, which produces very poor

outcomes. For example, one study documented the treatment outcomes from a detoxification

facility, and showed (1) a 29 percent relapse on the day of discharge, (2) a 60 percent relapse

after one month, and (3) a success rate of between only 5 to 10 percent after one year.

       29.     Forced detoxification is especially dangerous for people with opioid use disorder

who are incarcerated. Prisoners with opioid use disorder have a heightened risk for relapse and




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overdose, with overdose and death especially high in the two-week period immediately

following release.

        30.     Numerous authorities have recognized the serious risks of the opioid crisis and

recommended providing MAT in prison to help address those risks.

        31.     For example, the President’s Commission on Combating Drug Addiction and the

Opioid Crisis found that “[i]n the weeks following release from jail or prison, individuals with or

in recovery from [opioid use disorder] are at elevated risk of overdose and associated fatality.”2

        32.     As the commission further recognized, “MAT has been found to be correlated

with reduced risk of mortality in the weeks following release and in supporting other positive

outcomes.” Id. “A large study of individuals with [opioid use disorder] released from prison

found that individuals receiving MAT were 75% less likely to die of any cause and 85% less

likely to die of drug poisoning in the first month after release.” Id.

        33.     The American Society of Addiction Medicine, the leading professional society in

the country on addiction medicine, also recommends treatment with MAT for people with opioid

use disorder in the criminal justice system.3

        34.     The National Commission on Correctional Health Care has also adopted a

position statement calling for the “continuation of prescribed medications for substance use

disorders,” such as buprenorphine and methadone.4

        35.     The United States Department of Justice’s Adult Drug Court Discretionary Grant

Program has gone even further, requiring grantees to permit the use of MAT.5

2            Final            Report              72             (2017),             available              at
https://www.whitehouse.gov/sites/whitehouse.gov/files/images/Final_Report_Draft_11-1-2017.pdf
3 Kyle Kampman & Margaret Jarvis, American Society of Addiction Medicine (ASAM) National Practice

Guideline for the Use of Medications in the Treatment of Addiction Involving Opioid Use, 9 J. Addict Med. 1, 8
(2015), available at FILL IN
4 National Commission on Correction Health Care, Substance Use Disorder Treatment for Adults and

Adolescents, NCCHC (Oct. 23, 2016), available at https://www.ncchc.org/substance-use-disorder-treatment-
for-adults-and-adolescents.


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       36.     As recognized by these authorities, opioid use disorder is a chronic relapsing

condition that requires medically appropriate treatment just like other chronic diseases. Once

patients start on MAT, they need to be maintained on that treatment under medical supervision to

give them the best chances of success.

       37.     Forced withdrawal is not medically appropriate for patients being treated with

MAT. It disrupts their treatment plan, leading to a seven-fold decrease in continuing MAT after

release. Death is three times as likely for people out of treatment versus when in treatment.

       38.     Numerous jails and prisons follow medical and policy authorities and allow

prisoners to continue with MAT during incarceration. Examples include Bernalilo County

Metropolitan Detention Center (New Mexico); Rikers Island Correctional Facility (New York);

Kings County Jail (Washington State); Orange County Jail (Florida).

       39.     The Rhode Island Department of Corrections makes medication-assisted

treatment available to all its prisoners, even those (unlike Ms. Smith) who were not receiving

MAT before being admitted to prison.

Ms. Smith’s Medical History

       40.     Brenda Smith suffers from opioid use disorder. With the help of MAT, Ms. Smith

has been in recovery for almost ten years and is not an active user of narcotics.

       41.     Ms. Smith is under presently the care of Dr. David Conner, M.D., a family

medicine doctor whose practice includes the treatment of drug addiction.

       42.     As part of Ms. Smith’s treatment, Dr. Connor has continued her prescription of

buprenorphine, which Ms. Smith takes orally, in the form of a sublingual pill. Ms. Smith takes

16 milligrams of buprenorphoine per day.


5U.S. Dep’t of Justice, Adult Court Discretionary Grant Program FY 2018 Competitive Grant Announcement,
OMB No. 1121-0329 (2018), available at https://www.bja.gov/funding/DrugCourts18.pdf.


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        43.    Buprenorphine has helped Ms. Smith remain clean and sober for almost ten years.

        44.    If Ms. Smith is abruptly withdrawn from her prescribed buprenorphine, she will

enter acute withdrawal, which will create a potentially life-threatening crisis and place her at risk

for numerous serious health conditions including suicide and overdose. The dangers of

withdrawal are especially acute for Ms. Smith.

        45.    The physical symptoms of abrupt withdrawal will likely include severe body

aches, nausea, shaking, sweating, dizziness, dehydration, and vomiting.

        46.    The psychological symptoms of withdrawal for Ms. Smith may include

decompensation, severe depression, and suicidality.

        47.    Discontinuation of buprenorphine puts Ms. Smith at a substantially greater risk of

relapse of opioid use disorder, which she has managed successfully for almost ten years. With a

relapse of addiction would come the attendant danger of Ms. Smith becoming unable to control

her cravings for opioids, potentially resulting in overdose and death.

Defendants’ Policies Place Ms. Smith in Imminent Danger

        48.    Ms. Smith faces an imminent prison sentence at the Aroostook County Jail, where

Defendants’ policies will force Ms. Smith into dangerous and potentially life-threatening

withdrawal.

        49.    Ms. Smith pleaded guilty to charges in a criminal case in Aroostook County

District Court. Ms. Smith was sentenced to forty (40) days imprisonment in Aroostook County

Jail.

        50.    Aroostook County Jail provides necessary medical care to prisoners in its custody,

except for prisoners who suffer from opioid use disorder. The Aroostook County Jail prohibits




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the use of MAT, even for individuals who suffer from opioid use disorder and are already

undergoing treatment with MAT at the time of admission to prison or jail.

       51.      Chief Deputy Gillen oversees prisoners at Aroostook County Jail and is

responsible for setting policy governing the treatment of prisoners, including their access to

medical care.

       52.      It is the policy and custom of the Aroostook County Jail to prohibit prisoners from

taking buprenorphine or any other forms of MAT.

       53.      Upon information and belief, it is the policy and custom of the Aroostook County

Sheriff’s Office to forbid the medical staff and contractors at Aroostook County Jail from

administering MAT to prisoners.

       54.      Ms. Smith has personal experience with being denied buprenorphine. She was

previously incarcerated for seven days in the York County Jail and was denied access to

buprenorphine. In this period she suffered painful and psychologically harmful withdrawal.

       55.      Defendant Commissioner Fitzpatrick is responsible for prisoners in Maine state

custody.

       56.      Immediately after learning of Ms. Smith’s situation, counsel for Mr. Smith sent a

letter dated August 29, 2018 to Assistant District Attorney Kari Wells Pluckett and District

Attorney Todd Collins requesting that Ms. Smith either be provided with buprenorphine during

her incarceration or be permitted to delay her admission to jail until after the resolution of a

preliminary injunction motion in Smith v. Fitzpatrick, U.S. District Court for the District of

Maine, Case No. 1:18-cv-288-NT, a related case espousing essentially identical issues.

       57.      Counsel for Ms. Smith consulted with ADA Wells Plucket and was advised to

communicate direction with Commander Craig Clossey of the Aroostook County Jail.




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       58.      Between August 30, 2018 and September 5, 2018, Counsel for Ms. Smith

contacted the Aroostook County Jail to find out whether she would be allowed to continue taking

her medication in prison. She was told that the Maine Department of Corrections does not allow

prisoners, except for pregnant prisoners, to be treated with buprenorphine or methadone.

       59.      Counsel for Ms. Smith was able to confer with Commander Clossey, but as of the

filing of this complaint was unable to come to an arrangement through which either Ms. Smith

would be permitted to remain on her buprenorphine medication or her admission to jail was

delayed.

       60.      Accordingly, Ms. Smith remains in fear that she will undergo forced withdrawal

upon admission to jail or prison on September 7, 2018.

                                   FIRST CAUSE OF ACTION

              Eighth Amendment: Deliberate Indifference to Serious Medical Need

       61.      Plaintiff Brenda Smith reasserts and realleges the allegations in the preceeding

paragraphs.

       62.      Defendants, while acting under color of state law, deliberate, purposefully, and

knowingly deny Ms. Smith access to necessary medical treatment for her opioid use disorder,

which is a serious medical need.

       63.      Denying Ms. Smith access to her prescribed maintenance dosage of

buprenorphine will cause her physical and psychological suffering, will expose her to heightened

risk for other serious medical conditions, and could trigger relapse into active addiction,

potentially resulting in overdose and death.

       64.      As applied to Ms. Smith, the denial of treatment by Defendants amounts to

deliberate indifference to a serious medical need, which is prohibited by the Eighth




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Amendment’s provision on cruel and unusual punishment. See, e.g., Farmer v. Brennan, 511 U.S.

825, 832 (1994); Davis v. Carter, 452 F.3d 686, 696 (7th Cir., 2006).

                                  SECOND CAUSE OF ACTION

    Americans with Disabilities Act – Discrimination Against Qualified Individuals with

                                              Disabilities

       65.        Plaintiff Brenda Smith reasserts and realleges the preceding paragraphs.

Aroostook County Jail is a “public entity” subject to the Americans with Disabiliteis Act. See

Pennsylvania Dep’t of Corrections v. Yeskey, 524 U.S. 206, 210 (1998).

       66.        Defendants Chief Deputy Gillen and Commissioner Fitzpatrick deny Ms. Smith

the benefits of the jail’s and prison’s medical programs on the basis of Mr. Smith’s disability.

       67.        Defendants Chief Deputy Gillen and Commissioner Fitzpatrick refuse to make a

reasonable accommodation for Ms. Smith by providing her with her prescribed maintenance

dosage of buprenorphine during her incarceration, thereby discriminating against him on the

basis of disability, even though accommodation would in no way alter the nature of the

healthcare program. See Kiman v. New Hampshire Dep’t of Corrections, 451 F.3d 274, 283-84

(1st Cir. 2006)

                                      PRAYER FOR RELIEF

Wherefore, Brenda Smith, respectfully requests that this Honorable Court:

       68.        Issue an injunction ordering Defendants to provide Plaintiff with buprenorphine

or an equivalent medication during the course of her incarceration.

       69.        Award Plaintiff monetary damages to fairly compensate her for her injuries,

including for the denial of constitutional rights;

       70.        Award Plaintiff attorneys fees and costs;




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      71.    Grant such further relief as the Court may deem just and proper.

                                  DEMAND FOR A JURY TRIAL

      Plaintiff Smith demands a jury for all issues so triable.


Dated: September 6, 2018

                                                     Respectfully Submitted,

                                                     /s/Peter Mancuso
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